Case 4:07-cr-20094-LVP-SDP ECF No. 190, PageID.557 Filed 05/27/10 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                             Case No. 07-20094

               Plaintiff,                             HONORABLE SEAN F. COX
                                                      United States District Judge
v.

D3 - MONTAE DESHONE LEEPER,

            Defendant.
___________________________________/

                             ORDER TO FILE A PROPER MOTION

        Following his guilty plea to five counts of distributing cocaine, in violation of 21 U.S.C.

§ 841(a)(1), and one count of conspiracy to distribute cocaine in violation of 21 U.S.C. §§

841(a)(1) and 846, this Court sentenced Defendant Monta Deshone Leeper (“Defendant”) to a

term of 120 months imprisonment.

        Thereafter, Defendant filed two pro se letters with this Court - dated December 5, 2009

and February 5, 2010, respectively - requesting that the Court involve itself in unrelated state

court matters. Defendant’s letter does not cite the legal authority under which he asks this Court

for relief.

        Rule 47(a) of the Federal Rules of Criminal Procedure requires that “[a] party applying to

the court for an order must do so by motion.” Fed. R. Crim. P. 47(a) (emphasis added).

        ACCORDINGLY, IT IS HEREBY ORDERED that, if Defendant still desires the

relief sought in these letters, Defendant is directed to file a MOTION for such relief. Any such

motion shall comply with applicable federal and local court rules.

        IT IS SO ORDERED.
Case 4:07-cr-20094-LVP-SDP ECF No. 190, PageID.558 Filed 05/27/10 Page 2 of 2




                                          S/Sean F. Cox
                                          Sean F. Cox
                                          United States District Judge

Dated: May 27, 2010

I hereby certify that on May 27, 2010, a copy of the foregoing document was served upon
counsel of record by electronic means and upon Monta D. Leeper #708561 via First Class Mail
at the address below:

Monta D. Leeper #708561
1002 South Saginaw Street
Flint, MI 48502

                            S/Jennifer Hernandez
                            Case Manager
